                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

 UNITED STATES OF AMERICA,

                             Plaintiff,

               v.                                   Case No. 18-00153-01-CR-W-RK

 JOEL JEROME TUCKER,

                             Defendant.

            MOTION OF THE UNITED STATES FOR A PRELIMINARY ORDER
                OF FORFEITURE, WITH SUPPORTING SUGGESTIONS

       The United States of America, by its undersigned counsel, respectfully submits its

Motion for a Preliminary Order of Forfeiture in the above-entitled case for the reasons set forth

in the following supporting suggestions. A proposed order is submitted with this motion.

                                SUPPORTING SUGGESTIONS

       1.      On May 21, 2019, the defendant Joel Jerome Tucker was charged in a

Superseding Indictment. Relevant to this motion, Count One charged interstate transportation of

stolen money, in violation of Title 18, United States Code, Section 2314. ECF No. 17.

       2.      The Forfeiture Allegation of the Superseding Indictment sought a personal money

judgment against defendant Joel Jerome Tucker in an amount representing proceeds obtained as

a result of the offence alleged in Count One. Id.

       3.      On July 16, 2020, the defendant Joel Jerome Tucker entered into a plea agreement

with the United States in which he agreed to plead guilty to, inter alia, Count One of the

Superseding Indictment charging violations of Title 18, United States Code, Section 2314; and

consented to the entry of a money judgment in the amount of $5,000 in United States currency.

ECF No. 39.




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       4.      The Court’s jurisdiction in this matter is founded upon Title 18, United States

Code, Section 981(a)(1)(C) which provides that:

               Any property, real or personal, which constitutes or is derived from proceeds
               traceable to a violation of . . . . of this title, or any offense constituting “specified
               unlawful activity” (as defined in section 1956(c)(7) of this title), or a conspiracy to
               commit such offense

       28 U.S.C. § 2461(c), provides that:

               If a person is charged in a criminal case with a violation of Act of Congress for
               which the civil or criminal forfeiture of property is authorized, the Government may
               include notice of the forfeiture in the indictment or information pursuant to the
               Federal Rules of Criminal Procedure. If the defendant is convicted of the offense
               giving rise to the forfeiture, the court shall order the forfeiture of the property as
               part of the sentence in the criminal case pursuant to the Federal Rules of Criminal
               Procedure and section 3554 of Title 18 United States Code. The procedures in
               section 413 of the Controlled Substance Act (21 U.S.C. § 853) apply to all stages
               of a criminal forfeiture proceedings, except that subsection (d) of such section
               applies only in cases in which the defendant is convicted of a violation of such Act.

       5.      The United States has not, as of this date, identified specific assets that were

derived from the offenses for which the defendant has been convicted. Nor has the United States

identified any property of the defendant that could be forfeited as a substitute asset in accordance

with Title 21, United States Code, Section 853(p).

       6.      Accordingly, the United States seeks the entry of an Order of Forfeiture

consisting of a personal money judgment against the defendant pursuant to Rule 32.2(b)(2)(C) in

the amount of $5,000.

       7.      The United States requests that the Court orally announce the final calculated

amount of the money judgment at the time of sentencing and that the Court include the final

calculated amount of the money judgment in its Judgment and Commitment Order. See FED. R.

CRIM . P. 32.2(b)(4)(B).




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       8.      The entry of an Order of Forfeiture in the form of a personal money judgment is

specifically authorized by Rule 32.2(b)(1) and (c)(1) of the Federal Rules of Criminal

Procedure. Forfeiture money judgments are authorized by Title 21, United States Code,

Section 853(o) and (p). See United States v. Johnson, No. 17-3776, 2020 WL 1845063, at *5

(8th Cir. Apr. 13, 2020) (affirming money judgment based on proceeds of offense); see also

United States v. Smith, 656 F.3d 821, 827 (8th Cir. 2011); see also United States. v. Hampton,

732 F.3d 687, 690-91 (6th Cir. 2013) (28 U.S.C. § 2461(c) incorporates 18 U.S.C. § 853 by

reference to civil forfeiture). Once the Order of Forfeiture is entered, the Government may move

at any time, pursuant to Rule 32.2(e)(1)(B), to amend the Order to forfeit specific property of the

defendant, having a value up to the amount of the money judgment, as substitute

assets. Johnson, 2020 WL 1845063, at *5, n.5.

       9.      In accordance with the provisions of Title 21, United States Code, Section 853(p)

and Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the United States requests that it

be permitted to undertake whatever discovery is necessary to identify, locate, or dispose of

property subject to forfeiture, or substitute assets for such property.

       WHEREFORE, the United States respectfully requests that this Court enter an order

directing a money judgment against the defendant Joel Jerome Tucker in the amount of $5,000.




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                                             Respectfully submitted,

                                             Timothy A. Garrison
                                             United States Attorney

                                     By

                                             /s/ Kathleen D. Mahoney
                                             Kathleen D. Mahoney
                                             Assistant United States Attorney
                                             400 E. 9th Street, Fifth Floor
                                             Kansas City, Missouri 64106
                                             Telephone: (816) 426-3122



                                CERTIFICATE OF SERVICE

        I hereby certify that on August 12, 2020, the foregoing motion was electronically filed
with the Clerk of the Court using the CM/ECF system, for electronic delivery to all counsel of
record.

                                             /s/ Kathleen D. Mahoney
                                             Kathleen D. Mahoney
                                             Assistant United States Attorney




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